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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

James Blakes, et al.
                                              Plaintiff,
v.                                                            Case No.: 1:11−cv−00336
                                                              Honorable Young B. Kim
Illinois Bell Telehone Company, et al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 7, 2014:


        MINUTE entry before the Honorable Young B. Kim:Motion hearing held.
Plaintiffs' motion to toll the statute of limitations [235], which the court treats as a motion
for clarification/reconsideration, is granted for the reasons stated in open court. The court's
December 17, 2013 order [232, 233] is hereby stayed until February 28, 2014. Parties
reported that while they have been engaged in settlement discussions, they would like to
have an in−person settlement conference. The court will advise the parties once it has
secured the assistance of another Magistrate Judge. The status hearing scheduled for
January 30, 2014, to stand. If the parties are able to schedule a settlement conference prior
to the January 30, 2014 status hearing, the court will strike the status hearing. Mailed
notice (ma,)




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